           Case 1:22-cr-00381-JEB Document 40 Filed 04/21/23 Page 1 of 1




        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                       )
                                               )
   v.                                          )       USDC No. 22-cr-381 (JEB)
                                               )
Jacob Michael Therres, defendant.              )

                                             NOTICE
                           (Exhibit: Letter from Habitat for Humanity)



         THE COURT WILL PLEASE NOTE filing of the attached Exhibit (1 page) in allocution

for sentencing, consisting of a letter from Michelle Louderback, Volunteer Coordinator, Habitat

for Humanity.

         This notice is,

                                               Respectfully submitted,

                                                   Nathan I. Silver

                                               NATHAN I. SILVER, ESQ.
                                               D.C. Bar No. 944314
                                               6300 Orchid Drive, Bethesda, MD 20817
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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of this Notice has been served upon Andrew J.
Tessman, Esq., USAO-DC, attorney of record for the United States, via ECF this 21st day of
April, 2023.

                                               __Nathan I. Silver_____
                                               Nathan I. Silver
